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             IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF FLORIDA
                         PENSACOLA DIVISION

UNITED STATES OF AMERICA

vs.                                              Case No. 3:08cr85/LAC

THE OMEGA GROUP CHICAGO, INC.
____________________________________/

                     PRELIMINARY ORDER OF FORFEITURE

        WHEREAS, in the Indictment in the above-entitled action, the United States

sought forfeiture from the defendant, THE OMEGA GROUP CHICAGO, INC.,

pursuant to Title 18, United States Code, Sections 981 and 982, and Title 28, United

States Code, Section 2461(c), the defendant’s interests in any property, real or personal,

involved in the violations set forth in Counts One of said Indictment and/or any property

traceable to such property;

        AND WHEREAS, on or about October 30, 2008, the defendant, THE OMEGA

GROUP CHICAGO, INC., pled guilty to Count One of the Indictment pursuant to a

written guilty plea outlining such forfeiture;

        AND WHEREAS, by virtue of said plea agreement, the United States is now

entitled to entry of a Preliminary Order of Forfeiture against all of defendant’s interest in

said property, pursuant to Title 18, United States Code, Sections 981(a)(1), 982(a)(1),

(a)(6), (a)(2)(B) and (b)(1), Title 28, United States Code, Section 2461(c), and Rule
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32(d)(2) and 32.2(b) of the Federal Rules of Criminal Procedure; now wherefore,

       IT IS HEREBY ORDERED:

       1.      That all of defendant’s rights and interest in the property described

below is hereby forfeited to and vested in the United States of America.

       2.      That property which is subject to forfeiture in this Order is as follows:

               A.     The property known as 2422 Redoubt Avenue, Pensacola, Florida,

lying and being in Escambia County, Florida and being more particularly described in the

Official Records at Deed Book 1, Page 17 of the public records of Escambia County as

follows:

       LOT 1, BLOCK 6, NIRVANA SUBDIVISION, ACCORDING TO THE PLAT

       THEREOF AS RECORDED IN PLAT BOOK 1, PAGE 17, OF THE PUBLIC

       RECORDS OF ESCAMBIA COUNTY, FLORIDA.

               B.     $563.97 in U.S. currency located in Wachovia Bank account

ending in account number 2379, for which the defendant AMARDEEP G.

CHERLAPALLI and U.C. were signatories;

               C.     $7,480.55 in U.S. currency located in Wachovia Bank account

ending in account number 0261 and titled in the name of Baba Enterprises, LLC;

               D.     $55,397.56 in U.S. currency located in Wachovia Bank account

ending in account number 0290 titled in the name of Baba Enterprises, LLC;

               E.     $97,439.78 in U.S. currency located in Wachovia Bank account

ending in account number 9748 titled in the name of Baba Enterprises, LLC;

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              F.      $17,859.00 in U.S. currency seized from Bestway Check Cashing,

3300 N. Pace Boulevard, Suite M-215, Pensacola, Florida; and

              G.      $61,147.00 in U.S. currency seized from Bestway Food Store,

2110 Gulf Beach Highway, Pensacola, Florida.

       3.     That a Preliminary Order of Forfeiture is hereby entered in favor of the

United States against defendant, THE OMEGA GROUP CHICAGO, INC., pursuant to

Rule 32.2(b)(1) of the Federal Rules of Criminal Procedure.

       IT IS SO ORDERED this 23rd day of January, 2009.




                                    s /L.A. Collier
                                    LACEY A. COLLIER
                                    SENIOR UNITED STATES DISTRICT JUDGE




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